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% A 0 2458    (Rcv. 06/05) Judgment in a Criminal Case
                                                                   #1616
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                       SOUTHERN                                  District o f                                  ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                    JEFFREY D. FARRIS
                                                                          Case Number:           4:04CR40039-01 BJPG

                                                                          USM Number: 06818-025
                                                                          Timothy Capps
                                                                          Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)           1 of the 4th Superseding Indictment.

   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'l'itle & Section                  Nature of Offense                                                       Offense Ended               Count

                                    Distribute 500 Grams or More of a Mixture or Substance



       The defendant is sentenced as provided in pages 2 through              10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count@)                                                  is       are dismissed on the motion of the United States.

         I t 1s ordcred thst thr dcfcndant must not~fythe Lntted States attorney for this dlrtrict uithin 30 d a y of ;lny c,hangc ofname, re,ldencr.,
or mailing address untilall fines, rcstitution,costs, and special assssamcnts imposed by this judgment are Su ly patd 11 ordered to pay restltutlon,
the defendant must noufy the coun and Unttcd States attorney of nutertal chanscs in economtc clrcunawnseb.




                                                                          J. Phil Gilbert                               District Judge
                                                                         ?$mroF >Axe                                  Title afJudge
                 Case 4:04-cr-40039-JPG                Document 657 Filed 03/05/07                      Page 2 of 6        Page ID
A 0 2458      (Rev. 06105) Judgment in Criminal Case             #1617

                                                                                                        Judgment   - Page 2of        10
 DEFENDANT: JEFFREY D. FARRIS
 CASE NUMBER: 4:04CR40039-013-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  262 months on Count 1 of the 4th Superseding Indictment



      I j The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program



           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case 4:04-cr-40039-JPG                 Document 657 Filed 03/05/07                     Page 3 of 6         Page ID
                                                                  #1618
A 0 245B      (Rev.06105) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
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 DEFENDANT: JEFFREY D. FARRIS
 CASE NUiW3ER: 4:04CR40039-013-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  10 years on Count 1 of the 4th Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall sutmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district withont the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so%y the protation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain vlew of the probatlon officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency withont the
           permission of the court; and
  13)      as dlrcctcd by the robation olficcr, the dctcndant shall notifv thud parties of r~sksthat may be occas~onedby he dcfcndant's crlnilnal
           record or           h~storyor characterisr~usand shall pcrhit the probxlon officer to nuke such not~ficat~ons     and to confilm the
           defendant s conlpl~anct.wtth such not~fica~~on  requirement.
A 0 2458
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           (Rev. 06105) Judgment in a Criminal Case
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           Sheet 3C - Supervised Release                        #1619
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DEFENDANT: JEFFREY D. FARRIS
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.
 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period      for drug urinalysis
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                           Sheet 5 ~ r i m i n a Monetary
                                                 l        Penalties                                                                                          #1620

 DEFENDANT: JEFFREY D. FARRIS
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 CASE NUMBER: 4:04CR40039-013-JPG
                                                                                                                                  CRIMINAL MONETARY PENALTIES
               The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                   Assessment                                                                                                          -
                                                                                                                                                                                    Fine                                                                                 Restitution
 TOTALS                                                $ 100.00                                                                                                                   % 200.00                                                                           $ 0.00



               The determination of restitution is deferred until -. An Amended Judgment in a Criminal C a s e ( A 0 245C) will be entered
               after such determination.

               The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

               If thc detendan~makcs a p y t ~ a payment,
                                                 l        each pa ec shall receive an approv~mately ro ortioncd aymcnt, unless specified othcm~sein
               the prlorlty order or percentage payment columnxelow. However, pursuant to 18 Lfs.8. 6 36640, all nonfedrral vlctlms must bc patd
               bef6re the-United States is paid..

 Yame of Yavee                                                                                                                                                                                                                               Restitution Ordered                               Priority or Percentage
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 TOTALS                                                                                                       $                                                    0.00                          $                                                   0.00


                   Restitution amount ordered pursuant to plea agreement $

 17                The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
                   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
                   to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

                   The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                   @f the interest requirement is waived for the                                                                                               I$       fme                      restitution.
                           the interest requirement for the                                                                                       fme                        restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l 10A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Apnl23, 199%.
A 0 2458
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           Sheet 6 - Schedule of Payments                         #1621
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, paymerlt of the total criminal monetary penalties are due as follows:

 A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                  ,Or
                 in accordance                C,      [7 D,       E, or    a ( F below; or
 B         Payment to begin immediately (may be combined with              C,          D, or    [7 F below); 01

 C     [7 Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D     [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

 E         Payment during the term of supervised release will commence witlnn                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    $I   Special instructions regarding the payment of criminal monetary penalties:
            While on supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a ent ofcriminal monetary penalties is due durin
impriso-t.       All crunidmoneUa: penalties. except %ose payments made tbrougi t E ~ e d e r a 1Bureau of Prisons' Inmate ~ ~ n a n c l $
Responslblllty Program, are made to e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) f i e interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecuhon and court costs.
